                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:01CR66

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
JAMES EDGAR MUNSON (2) and          )
RONALD WASHINGTON (6),              )
                                    )
            Defendants.             )
___________________________________ )

       THIS MATTER is before the Court on its own motion. On May 30, 2003, a jury found

both Defendants guilty of conspiracy to possess with intent to distribute marijuana, in violation

of 21 U.S.C. §§ 841, 846 (Count One), and conspiracy to commit money laundering, in violation

of 18 U.S.C. § 1956 (Count Two). On December 18, 2003, this Court sentenced Defendant

Munson to 121 months imprisonment on both Count One and Count Two, with the terms of

imprisonment to run concurrently. Likewise, on November 15, 2004, this Court sentenced

Defendant Washington to 121 months imprisonment on both Count One and Count Two, with

the terms to run concurrently. On November 17, 2004 and March 4, 2004, Defendants

Washington and Munson, respectively, filed Notices of Appeal. On May 17, 2006, the United

States Court of Appeals for the Fourth Circuit affirmed the Defendants’ convictions but

remanded them for re-sentencing pursuant to United States v. Collins, 415 U.S. 304 (4th Cir.

2005). The Fourth Circuit noted that with regard to Count One, both the Bill of Indictment and

verdict form asked the jury to determine the amount of drugs attributable to the entire conspiracy,

not to each individual defendant. Consequently, the Fourth Circuit concluded that the sentences



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were imposed in error. The Mandate issued on June 13, 2006.

        At this time, both Defendants have been appointed counsel for purposes of re-sentencing.

Although a date for the re-sentencing has not been scheduled, in order to properly prepare for

such hearing, the Court requests that each party file a sentencing memorandum with the Court

within fourteen (14) days of the date of this Order.1 These sentencing memoranda should address

the arguments raised by the Fourth Circuit, specifically with regard to the United States v. Collins

issue, and should advise the Court of how the sentences should be calculated in light of the

Fourth Circuit’s ruling.

        IT IS, THEREFORE, ORDERED that both Defendants and the Government shall file

independent sentencing memoranda within fourteen (14) days of the date of this Order.



                                                       Signed: July 25, 2006




        1
         The Court is aware that counsel for Defendant W ashington filed a Sentencing Memorandum on July 21,
2006. Unless additional information arises that results in an amendment to that Memorandum, Defendant
W ashington will not need to submit another memorandum to the Court.

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